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 7

 8                            UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10                                  OAKLAND DIVISION

11

12 YUNTEK INTERNATIONAL, INC.,                 Case No. 4:20-cv-07201-JSW

13              Plaintiff,                     PLAINTIFF YUNTEK INTERNATIONAL,
                                               INC.’S AMENDED DISCLOSURE OF
14       v.                                    ASSERTED CLAIMS AND
                                               INFRINGEMENT CONTENTIONS
15 XIAMEN JXD ELECTRONIC COMMERCE              PURSUANT TO PATENT L.R. 3-1
   CO., LTD., XIAMEN SUNNYPET
16 PRODUCTS CO., LTD., and PETSFIT INC.,       [PROPOSED VERSION SUBMITTED
                                               WITH YUNTEK’S MOTION FOR LEAVE
17              Defendants.                    TO AMEND]

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     PLAINTIFF YUNTEK INT'L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1           Pursuant to Patent L.R. 3-1, Plaintiff Yuntek International, Inc. (“Yuntek”) hereby states

 2 the following Disclosure of Asserted Claims and Infringement Contentions. This disclosure is

 3 made solely for purposes of this action. Discovery and Yuntek’s investigation in this matter are

 4 ongoing, and claim construction has not yet occurred. Accordingly, this disclosure is based upon

 5 information that Yuntek currently has in its possession, custody, or control, and Yuntek’s good

 6 faith beliefs about the scope of the asserted patent claims, without prejudice to Yuntek’s right to

 7 supplement or amend this disclosure to the extent and at the times permitted by applicable law.

 8 (a)       Each claim of each patent in suit that is allegedly infringed by each opposing party,
             including for each claim the applicable statutory subsections of 35 U.S.C. §271
 9           asserted.

10           Yuntek asserts that Defendants Xiamen JXD Electronic Commerce Co., Ltd. and Xiamen

11 Sunnypet Products Co., Ltd. (collectively, “Sunnypet” or “Defendants”) infringe the following

12 claims of U.S. Patent No. 6,715,446 (the “ʼ446 Patent”), in each case under 35 U.S.C. § 271(a)

13 and (b): claims 6-7, 31-38, 40-51, 53-61, and 64-65.

14 (b)       Separately for each asserted claim, each accused apparatus, product, device, process,
             method, act, or other instrumentality (“Accused Instrumentality”) of each opposing
15           party of which the party is aware.

16           Yuntek is presently aware of the following Sunnypet products that infringe certain asserted

17 claims identified in Section (a) above, as follows, subject to Yuntek’s right to supplement this list

18 upon learning of additional infringing products through its continuing investigation and discovery

19 in this action:

20                  The products that Sunnypet has identified as Model #DCC10391 and/or as the
21                   Petsfit Soft Portable Dog Crate/Cat Crate/Foldable Pet Kennel/Indoor Outdoor Pet
22                   Home, regardless of the product’s size, color, pattern, folding style, or other
23                   variations and regardless of the name(s) and/or other identifier(s) Sunnypet has
24                   used for the products, infringe at least claims 6-7, 31-36, 40-49, 53-58, 60, and 64-
25                   65 of the ʼ446 Patent.
26

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28    The model number may have a suffix, such as Model #DCC1039B1C, perhaps indicating a size,
     color, pattern, and/or design.
         PLAINTIFF YUNTEK INT'L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1                 The products that Sunnypet has identified as Model #DCC10391,2 regardless of the
 2                  product’s size, color, pattern, folding style, or other variations and regardless of the
 3                  name(s) and/or other identifier(s) Sunnypet has used for the products, infringe at
 4                  least claims 6-7, 31-36, 40-49, 53-58, 60, and 64-65 of the ʼ446 Patent.
 5                 The products that Sunnypet has identified as Model #DCC10473 and/or as the
 6                  Petsfit Soft Portable Dog Crate/Cat Crate/Foldable Pet Kennel/Indoor Outdoor Pet
 7                  Home, regardless of the product’s size, color, pattern, folding style, or other
 8                  variations and regardless of the name(s) and/or other identifier(s) Sunnypet has
 9                  used for the products, infringe at least claims 6-7, 31-38, 40-51, 53-61, and 64-65
10                  of the ʼ446 Patent. Yuntek is informed and believes that the same model has also
11                  been identified on amazon.com as, for example, Petsfit Sturdy Wire Frame Soft Pet
12                  Crate, Collapsible for Travel.
13                 The pet carrier products that Sunnypet identifies on its website as Model
14                  #DCC002,4 regardless of the product’s size, color, pattern, folding style, or other
15                  variations and regardless of the name(s) and/or other identifier(s) Sunnypet has
16                  used for the products, infringe at least claims 6-7, 31-33, 36, 40-47, 53-57, and 64
17                  of the ʼ446 Patent.
18                 The pet carrier products that Sunnypet has identified as Model #DCC1800,5
19                  including, but not limited to, the product that has been identified on amazon.com as
20                  Petsfit Expandable Cat Carrier Dog Carriers, Airline Approved Soft-Sided Portable
21                  Pet Travel Washable Carrier for Kittens, Puppies, Removable Soft Plush mat and
22                  Pockets, Locking Safety Zippers, regardless of the product’s size, color, pattern,
23                  folding style, or other variations and regardless of the name(s) and/or other
24

25   2
     The model number may have a suffix, perhaps indicating a size, color, pattern, and/or design.
     3
26 The model number may have a suffix, such as Model #DCC1047C, perhaps indicating a size,
   color, pattern, and/or design.
27 4 The model number may have a suffix, perhaps indicating a size, color, pattern, and/or design.

28 5 The model number may have a suffix, such as Model #DCC1800C, DCC1800D, or DCC1800K,
   perhaps indicating a size, color, pattern, and/or design.
                                                      2
         PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1                  identifier(s) Sunnypet has used for the products, infringes at least claims 6-7, 31-

 2                  32, 37, 40-42, 45-46, 50, 53-54, and 64 of the ʼ446 Patent.

 3                 The pet home products that Sunnypet sold to K&H Manufacturing in 2014 and
 4                  2015 and which K&H Manufacturing sold under the names Classy Go and Comfy

 5                  Go, regardless of the product’s size, color, pattern, folding style, or other variations

 6                  and regardless of the name(s) and/or other identifier(s) Sunnypet or K&H used for

 7                  the products, infringed at least claims 6-7, 31-36, 40-49, 53-58, 60, and 64-65 of

 8                  the ʼ446 Patent.

 9                 The pet carrier products Sunnypet has identified as Model #DCC1039023&4&5,6
10                  regardless of the product’s size, color, pattern, folding style, or other variations and
11                  regardless of the name(s) and/or other identifier(s) Sunnypet has used for the
12                  products, infringe at least claims 6-7, 31-32, 36, 40-46, 53-56, and 64 of the ʼ446
13                  Patent.
14                 The pet carrier products Sunnypet has identified as Model #DCC1039033&4&5,7
15                  regardless of the product’s size, color, pattern, folding style, or other variations and
16                  regardless of the name(s) and/or other identifier(s) Sunnypet has used for the
17                  products, infringe at least claims 6-7, 31-33, 36, 40-47, 53-56, and 64 of the ʼ446
18                  Patent.
19                 The pet carrier products that Sunnypet has identified as Model #DCC1910,8
20                  regardless of the product’s size, color, pattern, folding style, or other variations and
21                  regardless of the name(s) and/or other identifier(s) Sunnypet has used for the
22                  products, infringe at least claims 6-7, 31-33, 36, 40-47, 53-56, and 64 of the ʼ446
23                  Patent.
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27   The model number may have a suffix, perhaps indicating a size, color, pattern, and/or design.
     7
     The model number may have a suffix, perhaps indicating a size, color, pattern, and/or design.
28
   8
     The model number may have a suffix, perhaps indicating a size, color, pattern, and/or design.
                                                 3
         PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1                 The pet carrier products that Sunnypet has identified as Model #DCC1811,9
 2                  regardless of the product’s size, color, pattern, folding style, or other variations and
 3                  regardless of the name(s) and/or other identifier(s) Sunnypet has used for the
 4                  products, infringe at least claims 6-7, 31-32, 36, 40-46, 53-56, and 64 of the ʼ446
 5                  Patent.
 6                 The pet carrier products that Sunnypet has identified as Model #DCC1047054&5,10
 7                  regardless of the product’s size, color, pattern, folding style, or other variations and
 8                  regardless of the name(s) and/or other identifier(s) Sunnypet has used for the
 9                  products, infringe at least claims 6-7, 31-33, 36-37, 40-47, 50, 53-57, and 64 of the
10                  ʼ446 Patent.
11           In addition, Yuntek is investigating possible infringement of one or more claims of the
12 ʼ446 Patent by Sunnypet Model #DCC001810, DCC002611, DHCA012033LN, and

13 DHCO012033N1 in view of documents recently produced by Sunnypet identifying and partially

14 depicting these products.

15 (c)       A chart identifying specifically where and how each limitation of each asserted claim
             is found within each Accused Instrumentality, including for each limitation that such
16           party contends is governed by 35 U.S.C. § 112(6), the identity of the structure(s),
             act(s), or material(s) in the Accused Instrumentality that performs the claimed
17           function.
18           The following chart identifies specifically where and how each limitation of each asserted
19 claim identified in Section (a) above, if applicable, is found in Sunnypet’s Model #DCC1039.

20 Yuntek does not contend that any claim limitation is governed by 35 U.S.C. § 112(6).

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27   9
     The model number may have a suffix, such as Model #DCC1811B, perhaps indicating a size,
   color, pattern, and/or design.
28
   10
      The model number may have a suffix, perhaps indicating a size, color, pattern, and/or design.
                                                 4
         PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1039
     6. A collapsible           To the extent the claim preamble is limiting, in whole or in part,
 2
     housing for                Sunnypet’s Model #DCC1039 (“DCC1039”) is a collapsible housing.
 3   accommodating a pet        Photo 1 below shows DCC1039 in its collapsed state; Photo 2 below
     comprising:                shows DCC1039 in its zippered/assembled state. Sunnypet markets the
 4                              product as being to accommodate a pet, a purpose for which the product
                                is suitable due to its size, shape, enclosed mat, and other features.
 5

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12                              (Photo 1)                          (Photo 2)
13
     a main body having a       Sunnypet product DCC1039 includes a main body having a bottom
14   bottom side, a first       side, a first (vertical) side, a second (vertical) side and a top side, as
     side, a second side, and   shown in Photo 3 below. The main body forms a continuous structure.
15   a top side, said main
     body forming a
16   continuous structure;
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                                (Photo 3 - annotated)
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     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1039
     a front panel, and a       Sunnypet product DCC1039 includes a front panel and a back panel, as
 2
     back panel, said front     shown in Photos 4 and 5 below. The front and back panels are each
 3   panel and said back        joined by stitching to the main body on the bottom side. The front and
     panel joined to the        back panels are each selectively engageable with the first, second, and
 4   main body on the           top sides via zippers. When the front and back panels are arranged
     bottom side and            substantially perpendicular to the bottom side, and the zippers are at
 5   selectively engageable     least partly closed, the front and back panels form a frame for the
     with the first, second,    housing as shown in Photos 2 and 3 above.
 6
     and top sides such that,
 7   when arranged
     substantially
 8   perpendicular to the
     bottom side, said front
 9   panel and said back
     panel form a frame for
10
     said housing; and
11

12

13                              (Photo 4 - annotated)              (Photo 5 - annotated)
14
     wherein said housing is    The housing of Sunnypet product DCC1039 is foldable when the front
15   foldable such that: the    and back panels are disengaged (unzipped) from the first, second, and
     first, second, and top     top sides of the main body; for example, the first and second sides of
16   sides are disengaged       the main body can then collapse inwards over the bottom side, and the
     from said front and        top side can collapse downwards over the other three sides, as shown in
17
     back panels, wherein       Photo 6 below. When disengaged (unzipped) from the main body, the
18   when disengaged, said      front and back panels open in a direction parallel to a longest side of the
     front and back panels      main body, as further shown in Photo 6 below.
19   open in a direction
     parallel to a longest
20   side of the main body;
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     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1039
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18                              (Photo 6)
19
     the main body is           The housing of Sunnypet product DCC1039 is foldable such that the
20   collapsed so that the      main body is collapsed so that the first, second, and top sides of the
     first, second, and top     main body are collapsed on top of the bottom side of the main body, as
21   sides are collapsed on     shown in Photo 7 below.
     top of said bottom side;
22   and
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                                                     7
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1039
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18                             (Photo 7)
19   the front panel and the   The housing of Sunnypet product DCC1039 is foldable when the front
20   back panel are folded     and back panels are disengaged (unzipped) from the first, second, and
     over the collapsed        top sides of the main body such that, after the first, second, and top
21   main body with one of     sides of the main body are collapsed on top of the bottom side, the front
     the front panel and the   panel and the back panel can be folded over the collapsed main body,
22   back panel folded over    with one of the front panel and the back panel folded over the other, as
     the other;                shown in Photo 1 above.
23

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     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1039
     wherein the front panel    Sunnypet product DCC1039 has a front opening in the middle of the
 2
     further has a front        front panel that, when unzipped, allows access to the collapsible
 3   opening that allows        housing, as shown, for example, in Photo 2 above (in which the front
     access to the              opening is zipped).
 4   collapsible housing for
     accommodating a pet;
 5

 6   wherein the front          The front opening in the front panel of Sunnypet product DCC1039 has
     opening is provided        a front shade made of mesh, as shown, for example, in Photo 2 above.
 7   with a front shade
     made of mesh;
 8
     wherein the front shade    The front shade of Sunnypet product DCC1039 is attached by stitching
 9
     is attached to the front   to the front panel above the front opening, as shown, for example, in
10   panel above the front      Photo 2 above.
     opening;
11
     and wherein a bottom       The front shade of Sunnypet product DCC1039 has a bottom side, a
12
     side, a first side and a   first side, and a second side that are connected to the front panel with a
13   second side of the front   zipper, as shown, for example, in Photo 2 above (in which the front
     shade are connected to     opening is zipped).
14   the front panel with
     one or more zippers.
15

16   7. A collapsible           To the extent the claim preamble is limiting, in whole or in part,
     housing for                Sunnypet product DCC1039 is a collapsible housing. Photo 1 above
17   accommodating a pet        shows DCC1039 in its collapsed state; Photo 2 above shows DCC1039
     comprising:                in its zippered/assembled state. Sunnypet markets the product as being
18                              to accommodate a pet, a purpose for which the product is suitable due
                                to its size, shape, enclosed mat, and other features.
19

20   a main body having a       Sunnypet product DCC1039 includes a main body having a bottom
     bottom side, a first       side, a first (vertical) side, a second (vertical) side and a top side, as
21   side, a second side, and   shown in Photo 3 above. The main body forms a continuous structure.
     a top side, said main
22   body forming a
     continuous structure;
23

24   a front panel, and a       Sunnypet product DCC1039 includes a front panel and a back panel, as
     back panel, said front     shown in Photos 3, 4, 5 and 6 above. The front and back panels are
25   panel and said back        each joined by stitching to the main body on the bottom side. The front
     panel joined to the        and back panels are each selectively engageable with the first, second,
26
     main body on the           and top sides via zippers.
27   bottom side and
     selectively engageable
28
                                                      9
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1039
     with the first, second,
 2
     and top sides;
 3
     wherein the front panel    Sunnypet product DCC1039 has a front opening in the middle of the
 4   further has a front        front panel that, when unzipped, allows access to the collapsible
     opening that allows        housing, as shown, for example, in Photo 2 above (in which the front
 5   access to the              opening is zipped).
 6   collapsible housing for
     accommodating a pet;
 7
     wherein a front shade      A front shade of Sunnypet product DCC1039 is attached by stitching to
 8   is attached to the front   the front panel above the front opening, as shown, for example, in
     panel above the front      Photo 2 above.
 9
     opening;
10
     wherein the front shade    The front shade of Sunnypet product DCC1039 is made of mesh, as
11   is mesh;                   shown, for example, in Photo 2 above.
12
     wherein a bottom side,     The front shade of Sunnypet product DCC1039 has a bottom side, a
13   a first side and a         first side, and a second side that are connected to the front panel with a
     second side of the front   zipper, as shown, for example, in Photo 2 above (in which the front
14   shade are connected to     opening is zipped).
     the front panel with
15   one or more zippers;
16   and

17   wherein said housing is    The housing of Sunnypet product DCC1039 is foldable when the front
     foldable such that: the    and back panels are disengaged (unzipped) from the first, second, and
18   first, second, and top     top sides of the main body; for example, the first and second sides of
19   sides are disengaged       the main body can then collapse inwards over the bottom side, and the
     from said front and        top side can collapse downwards over the other three sides, as shown in
20   back panels, wherein       Photo 6 above. When disengaged (unzipped) from the main body, the
     when disengaged, said      front and back panels open in a direction parallel to a longest side of the
21   front and back panels      main body, as further shown in Photo 6 above.
     open in a direction
22   parallel to a longest
23   side of the main body;

24   the main body is           The housing of Sunnypet product DCC1039 is foldable such that the
     collapsible so that the    main body is collapsed so that the first, second, and top sides of the
25   first, second, and top     main body are collapsed on top of the bottom side of the main body, as
     sides are collapsed on     shown in Photo 7 above.
26
     top of said bottom side;
27   and

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                                                     10
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1039
     the front panel and       The housing of Sunnypet product DCC1039 is foldable when the front
 2
     back panel are folded     and back panels are disengaged (unzipped) from the first, second, and
 3   over the collapsed        top sides of the main body such that, after the first, second, and top
     main body with one of     sides of the main body are collapsed on top of the bottom side, the front
 4   the front panel and the   panel and the back panel can be folded over the collapsed main body,
     back panel folded over    with one of the front panel and the back panel folded over the other, as
 5   the other.                shown in Photo 1 above.
 6
     31. The collapsible       The front panel of Sunnypet product DCC1039 is selectively
 7   housing for               engageable with the first, second, and top sides of the main body by a
     accommodating a pet       zipper, as shown, for example, in Photos 2 and 4 above.
 8   of claim 7, wherein the
     front panel is
 9   selectively engageable
10   with the first, second,
     and top sides of the
11   main body by a zipper.

12   32. The collapsible       The back panel of Sunnypet product DCC1039 is selectively
     housing for               engageable with the first, second, and top sides of the main body by a
13
     accommodating a pet       zipper, as shown, for example, in Photos 3 and 5 above.
14   of claim 7, wherein the
     back panel is
15   selectively engageable
     with the first, second,
16   and top sides of the
     main body by a zipper.
17

18   33. The collapsible       The first side and the second side of Sunnypet product DCC1039 each
     housing for               have a side mesh window, as shown in Photos 8 and 9 below.
19   accommodating a pet
     of claim 7, wherein at
20   least one of the first
21   side and the second
     side has a side mesh
22   window.

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26                             (Photo 8)                            (Photo 9)

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                                                    11
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1039
     34. The collapsible       At least one of the side mesh windows in the first and second sides of
 2
     housing for               Sunnypet product DCC1039 has a side shade, as shown in Photo 9
 3   accommodating a pet       above (with the side shade rolled up above the side mesh window).
     of claim 33 wherein
 4   the side mesh window
     has a side shade.
 5

 6   35. The collapsible       The side shade on at least one side of Sunnypet product DCC1039 is
     housing for               securable above the respective side mesh window by means of Velcro.
 7   accommodating a pet       The side shade is shown in its secured position in Photo 9 above.
     of claim 34 wherein
 8   the side shade is
     securable above the
 9   side mesh window.
10
     36. The collapsible       The top side of Sunnypet product DCC1039 has a handle attached
11   housing for               thereto, as shown, for example, in Photos 2, 3, 8, and 9 above.
     accommodating a pet
12   of claim 7, wherein the
13   top side of the main
     body has a handle
14   attached thereto.

15   40. The collapsible       Sunnypet product DCC1039 is supplied with a pad placed, or for
     housing for               placement, in the interior on the bottom side, as shown in Photos 10 and
16
     accommodating a pet       11 below.
17   of claim 7, further
     comprising a pad
18   placed in the interior
     on the bottom side.
19

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22

23                             (Photo 10)                     (Photo 11)

24                             (Photos 10 and 11 from Amazon listing for Petsfit 35”x26”x30”
                               (LxWxH) Inches Large Soft Portable Dog Crate/Cat Crate/Foldable Pet
25
                               Kennel/Indoor Outdoor Pet Home for Large Dogs as of 5/20/2021)
26

27

28
                                                   12
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1039
     41. A collapsible         To the extent the claim preamble is limiting, in whole or in part,
 2
     housing for               Sunnypet product DCC1039 is a collapsible housing. Photo 1 above
 3   accommodating a pet       shows DCC1039 in its collapsed state; Photo 2 above shows DCC1039
     comprising:               in its zippered/assembled state. Sunnypet markets the product as being
 4                             to accommodate a pet, a purpose for which the product is suitable due
                               to its size, shape, enclosed mat, and other features.
 5

 6   a collapsible main        Sunnypet product DCC1039 includes a main body having a bottom
     body having a bottom      side, a first (vertical) side, a second (vertical) side and a top side, as
 7   side, a first side, a     shown in Photo 3 above. The main body forms a continuous structure
     second side, and a top    and is collapsible, Photo 1 above showing DCC1039 in its collapsed
 8   side, said main body      state and Photo 2 above showing DCC1039 in its zippered/assembled
     forming a continuous      state.
 9   structure;
10
     a front panel joined to   Sunnypet product DCC1039 includes a front panel, as shown, for
11   the main body on the      example, in Photos 2 and 4 above. The front panel is joined by
     bottom side and           stitching to the main body on the bottom side. The front panel is
12   selectively engageable    selectively engageable with the first, second, and top sides of the main
13   with the first, second,   body via a zipper. When disengaged (unzipped) from the main body,
     and top sides of the      the front panel opens in a direction parallel to a longest side of the main
14   main body such that,      body, as shown in Photo 6 above.
     when disengaged, said
15   front panel opens in a
     direction parallel to a
16   longest side of the
17   main body;

18   a front opening in said   Sunnypet product DCC1039 has a front opening in the middle of the
     front panel which         front panel which, when unzipped, allows access to the collapsible
19   allows access to the      housing, as shown, for example, in Photo 2 above (in which the front
20   collapsible housing for   opening is zipped). The size and shape of the opening accommodates
     entry and exit of the     entry and exit of a pet, as marketed by Sunnypet.
21   pet;

22   a back panel joined to    Sunnypet product DCC1039 includes a back panel, as shown, for
     the main body on the      example, in Photos 3 and 5 above. The back panel is joined by stitching
23
     bottom side and           to the main body on the bottom side. The back panel is selectively
24   selectively engageable    engageable with the first, second, and top sides of the main body via a
     with the first, second,   zipper. When disengaged (unzipped) from the main body, the back
25   and top sides of the      panel opens in a direction parallel to a longest side of the main body, as
     main body such that       shown in Photo 6 above.
26   when disengaged, said
     back panel opens in a
27
     direction parallel to a
28
                                                    13
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 1   Claim Element               Where Element Is Found in Sunnypet Model #DCC1039
     longest side of the
 2
     main body;
 3
     wherein a front shade       A front shade of Sunnypet product DCC1039 is attached by stitching to
 4   is attached to the front    the front panel above the front opening, as shown, for example, in
     panel above the front       Photo 2 above. The front shade of Sunnypet product DCC1039 has a
 5   opening and wherein a       bottom side, a first side, and a second side that are connected to the
 6   bottom side, a first side   front panel with a zipper, as shown, for example, in Photo 2 above (in
     and a second side of        which the front opening is zipped).
 7   the front shade are
     connected to the front
 8   panel with one or more
     zippers;
 9

10   wherein the first,          The first, second, and top sides of Sunnypet product DCC1039 are
     second, and top sides       designed to be engaged with the front panel and back panel via zippers,
11   of said main body are       with the front and back panels positioned substantially perpendicular to
     engaged with said front     the bottom side of the main body such that the front and back panels
12   panel and back panel,       support the first, second, and top sides of the main body as shown, for
13   and the front panel and     example, in Photo 2 above.
     back panel are
14   positioned
     substantially
15   perpendicular to the
     bottom side of the
16   main body such that
17   the front panel and
     back panel support said
18   first, second, and top
     sides of the main body;
19   and
20
     wherein the housing is      The housing of Sunnypet product DCC1039 is foldable when the front
21   foldable such that, the     and back panels are disengaged (unzipped) from the first, second, and
     first, second, and top      top sides of the main body; for example, the first and second sides of
22   sides of said main body     the main body can then collapse inwards over the bottom side, and the
     are disengaged from         top side can collapse downwards over the other three sides, as shown in
23   said front and back         Photos 6 and 7 above. After the first, second, and top sides of the main
24   panels, the first,          body are collapsed on top of the bottom side, the front panel and the
     second, and top sides       back panel can be folded over the collapsed main body, with one of the
25   of said main body are       front panel and the back panel folded over the other, as shown in Photo
     collapsed on top of         1 above.
26   said bottom side of
     said main body, and
27   the front panel and the
28   back panel are folded

                                                      14
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1039
     over the collapsed
 2
     main body with one of
 3   the front panel and the
     back panel folded over
 4   the other of the front
     panel and the back
 5   panel.
 6
     42. The collapsible        The front shade of Sunnypet product DCC1039 comprises mesh, as
 7   housing for                shown, for example, in Photo 2 above.
     accommodating a pet
 8   of claim 41, wherein
     the front shade
 9   comprises mesh.
10
     43. The collapsible        The top side of Sunnypet product DCC1039 has a handle attached
11   housing for                thereto, as shown, for example, in Photos 2, 3, 8, 9, and 10 above.
     accommodating a pet
12   of claim 41, wherein
13   the top side of the main
     body has a handle
14   attached thereto.

15   44. The collapsible        The top side of Sunnypet product DCC1039 has a handle sewn thereto,
     housing for                as shown, for example, in Photos 2, 3, 8, 9, and 10 above.
16
     accommodating a pet
17   of claim 41, wherein
     the top side of the main
18   body has a handle
     sewn thereto.
19

20   45. The collapsible        The front panel of Sunnypet product DCC1039 is selectively
     housing for                engageable with the first, second, and top sides of the main body by a
21   accommodating a pet        zipper, as shown, for example, in Photos 2 and 4 above.
     of claim 41, wherein
22   the front panel is
     selectively engageable
23
     with the first, second,
24   and top sides of the
     main body by a zipper.
25
     46. The collapsible        The back panel of Sunnypet product DCC1039 is selectively
26   housing for                engageable with the first, second, and top sides of the main body by a
27   accommodating a pet        zipper, as shown, for example, in Photos 3 and 5 above.
     of claim 41, wherein
28   the back panel is
                                                     15
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1039
     selectively engageable
 2
     with the first, second,
 3   and top sides of the
     main body by a zipper.
 4
     47. The collapsible       The first side and the second side of Sunnypet product DCC1039 each
 5   housing for               have a side mesh window, as shown in Photos 8 and 9 above.
 6   accommodating a pet
     of claim 41, wherein at
 7   least one of the first
     side and the second
 8   side has a side mesh
     window.
 9

10   48. The collapsible       At least one of the side mesh windows in the first and second sides of
     housing for               Sunnypet product DCC1039 has a side shade, as shown in Photo 9
11   accommodating a pet       above (with the side shade rolled up above the side mesh window).
     of claim 47, wherein
12   the side mesh window
13   has a side shade.

14   49. The collapsible       The side shade on at least one side of Sunnypet product DCC1039
     housing for               comprises Velcro fasteners to secure the side shade above the respective
15   accommodating a pet       side mesh window. The side shade is shown in its secured position in
     of claim 48, wherein      Photo 9 above.
16
     the side shade
17   comprises a fastener to
     secure the side shade
18   above the side mesh
     window.
19

20   53. The collapsible       Sunnypet product DCC1039 is supplied with a pad positioned, or to be
     housing for               positioned, inside the main body on top of the bottom side of the main
21   accommodating a pet       body, as shown in Photos 10 and 11 above.
     of claim 41, further
22   comprising a pad
     positioned inside the
23
     main body on top of
24   the bottom side of the
     main body.
25
     54. A collapsible         To the extent the claim preamble is limiting, in whole or in part,
26   housing for               Sunnypet product DCC1039 is a collapsible housing. Photo 1 above
27   accommodating a pet       shows DCC1039 in its collapsed state; Photo 2 above shows DCC1039
     comprising:               in its zippered/assembled state. Sunnypet markets the product as being
28
                                                   16
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element               Where Element Is Found in Sunnypet Model #DCC1039
                                 to accommodate a pet, a purpose for which the product is suitable due
 2
                                 to its size, shape, enclosed mat, and other features.
 3
     a collapsible main          Sunnypet product DCC1039 includes a main body having a bottom
 4   body having a bottom        side, a first (vertical) side, a second (vertical) side and a top side, as
     side, a first side, a       shown in Photo 3 above. The main body forms a continuous structure
 5   second side, and a top      and is collapsible, Photo 1 above showing DCC1039 in its collapsed
 6   side, said main body        state and Photo 2 above showing DCC1039 in its zippered/assembled
     forming a continuous        state.
 7   structure;

 8   a front panel joined to     Sunnypet product DCC1039 includes a front panel, as shown, for
     the main body on the        example, in Photos 2 and 4 above. The front panel is joined by
 9
     bottom side and             stitching to the main body on the bottom side. The front panel is
10   selectively engageable      selectively engageable with the first, second, and top sides of the main
     with a zipper to the        body via a zipper. When disengaged (unzipped) from the main body,
11   first, second, and top      the front panel opens in a direction parallel to a longest side of the main
     sides of the main body      body, as shown in Photo 6 above.
12   such that, when
13   disengaged, said front
     panel opens in a
14   direction parallel to a
     longest side of the
15   main body;
16
     a front opening in said     Sunnypet product DCC1039 has a front opening in the middle of the
17   front panel which           front panel which, when unzipped, allows access to the collapsible
     allows access to the        housing, as shown, for example, in Photo 2 above (in which the front
18   collapsible housing for     opening is zipped). The size and shape of the opening accommodates
     entry and exit of the       entry and exit of a pet, as marketed by Sunnypet.
19   pet;
20
     a front mesh shade          A front shade of Sunnypet product DCC1039 is attached by stitching to
21   attached to the front       the front panel above the front opening, as shown, for example, in
     panel above the front       Photo 2 above. The front shade is made of mesh and has a bottom side,
22   opening wherein a           a first side, and a second side that are selectively engageable to the front
     bottom side, a first side   panel with a zipper, as shown, for example, in Photo 2 above (in which
23
     and a second side of        the front opening is zipped).
24   the front mesh shade
     are selectively
25   engageable with one or
     more zippers to the
26   front panel;
27

28
                                                      17
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1039
     a back panel joined to    Sunnypet product DCC1039 includes a back panel, as shown, for
 2
     the main body on the      example, in Photos 3 and 5 above. The back panel is joined by stitching
 3   bottom side and           to the main body on the bottom side. The back panel is selectively
     selectively engageable    engageable with the first, second, and top sides of the main body via a
 4   with a zipper to the      zipper. When disengaged (unzipped) from the main body, the back
     first, second, and top    panel opens in a direction parallel to a longest side of the main body, as
 5   sides of the main body    shown in Photo 6 above.
     such that when
 6
     disengaged, said back
 7   panel opens in a
     direction parallel to a
 8   longest side of the
     main body;
 9

10   wherein the first,        The first, second, and top sides of Sunnypet product DCC1039 are
     second, and top sides     designed to be engaged with the front panel and back panel via zippers,
11   of said main body are     with the front and back panels positioned substantially perpendicular to
     engaged with said front   the bottom side of the main body such that the front and back panels
12   panel and back panel,     support the first, second, and top sides of the main body as shown, for
     and the front panel and   example, in Photos 2 and 3 above.
13
     the back panel are
14   positioned
     substantially
15   perpendicular to the
     bottom side of the
16   main body such that
     the front panel and
17
     back panel support said
18   first, second, and top
     sides of the main body;
19
     wherein the collapsible   The housing of Sunnypet product DCC1039 is foldable when the front
20   housing is foldable       and back panels are disengaged (unzipped) from the first, second, and
21   such that the first,      top sides of the main body; for example, the first and second sides of
     second, and top sides     the main body can then collapse inwards over the bottom side, and the
22   of said main body are     top side can collapse downwards over the other three sides, as shown in
     disengaged from said      Photos 6 and 7 above. After the first, second, and top sides of the main
23   front and back panels,    body are collapsed on top of the bottom side, the front panel and the
     the first, second, and    back panel can be folded over the collapsed main body, with one of the
24
     top sides of said main    front panel and the back panel folded over the other, as shown in Photo
25   body are collapsed on     1 above.
     top of said bottom side
26   of said main body, and
     the front panel and the
27   back panel are folded
     over the collapsed
28
     main body with one of
                                                    18
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1039
     the front panel and the
 2
     back panel folded over
 3   the other of the front
     panel and the back
 4   panel.

 5   55. The collapsible        The top side of Sunnypet product DCC1039 has a handle attached
 6   housing for                thereto, as shown, for example, in Photos 2, 3, 8, 9, and 10 above.
     accommodating a pet
 7   of claim 54, further
     comprising a handle
 8   attached to said top
     side of said main body.
 9

10   56. The collapsible        The top side of Sunnypet product DCC1039 has a handle sewn thereto,
     housing for                as shown, for example, in Photos 2, 3, 8, 9, and 10 above.
11   accommodating a pet
     of claim 54, further
12   comprising a handle
13   sewn to the top side of
     the main body.
14
     57. The collapsible        The first side and the second side of Sunnypet product DCC1039 each
15   housing for                have a side mesh window, as shown in Photos 8 and 9 above.
     accommodating a pet
16
     of claim 54, further
17   comprising: a first
     mesh window in the
18   first side; and a second
     mesh window in the
19   second side.
20
     58. The collapsible        In at least some versions of Sunnypet product DCC1039, the first side
21   housing for                and the second side each have a side mesh window with a side shade
     accommodating a pet        securable above the respective side mesh window by means of Velcro,
22   of claim 54, further       as shown in Photos 12 and 13 below (with the side shades rolled up and
     comprising: a first        secured above the side mesh windows).
23
     mesh window in the
24   first side; a second
     mesh window in the
25   second side; a first
     shade securable over
26   the first mesh window;
     and a second shade
27
     securable over the
28   second mesh window.
                                (Photo 12)                        (Photo 13)
                                                     19
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element            Where Element Is Found in Sunnypet Model #DCC1039
     60. The collapsible      In at least some versions of Sunnypet product DCC1039, the first side
 2
     housing for              and the second side each have a side mesh window with a side shade
 3   accommodating a pet      securable above the respective side mesh window by means of Velcro
     of claim 54, further     fasteners, as shown in Photos 12 and 13 above (with the side shades
 4   comprising: a first      rolled up and secured in a held-open position above the side mesh
     mesh window in the       windows).
 5   first side; a second
     mesh window in the
 6
     second side; a first
 7   shade securable over
     the first mesh window;
 8   a second shade
     securable over the
 9   second mesh window;
     a first fastener for
10
     holding open the first
11   mesh window; and a
     second fastener for
12   holding open the
     second mesh window.
13

14   64. The collapsible      Sunnypet product DCC1039 is supplied with a pad placed, or to be
     housing for              placed, inside the housing covering the bottom side of the main body, as
15   accommodating a pet      shown in Photos 10 and 11 above.
     of claim 54, further
16   comprising a pad
     placed inside the
17
     housing covering the
18   bottom side of said
     main body.
19
     65. The collapsible      The front mesh shade of Sunnypet product DCC1039 comprises Velcro
20   housing for              fasteners for holding open the front mesh shade, as shown, for example,
21   accommodating a pet      in Photos 2 and 10 above.
     of claim 54, further
22   comprising a fastener
     for holding open the
23   front mesh shade.
24

25         The analysis in the above chart applies equally to the Classy Go and Comfy Go products
26 sold by K&H Manufacturing and supplied by Sunnypet, and to Sunnypet Model #DCC10391.

27         The analysis in the above chart applies equally to Model #DCC002 (“DCC002”) with
28 respect to claims 6-7, 31-33, 36, 40-47, 53-57, and 64 of the ʼ446 Patent; to Model #DCC1800
                                                  20
      PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1 (“DCC1800”) with respect to claims 6-7, 31-32, 37, 40-42, 45-46, 50, 53-54, and 64 of the ʼ446

 2 Patent; to Model #DCC1039023&4&5 (“DCC103902”) with respect to claims 6-7, 31-32, 36, 40-

 3 46, 53-56, and 64 of the ʼ446 Patent; to Model #DCC1039033&4&5 (“DCC103903”) with respect

 4 to claims 6-7, 31-33, 36, 40-47, 53-56, and 64 of the ʼ446 Patent; to Model #DCC1910

 5 (“DCC1910”) with respect to claims 6-7, 31-33, 36, 40-47, 53-56, and 64 of the ʼ446 Patent; to

 6 Model #DCC1811B (“DCC1811”) with respect to claims 6-7, 31-32, 36, 40-46, 53-56, and 64 of

 7 the ʼ446 Patent; and to Model #DCC1047054&5 (“DCC104705”) with respect to claims 6-7, 31-

 8 33, 36-37, 40-47, 50, 53-57, and 64 (DCC002, DCC1800, DCC103902, DCC103903, DCC1910,

 9 DCC1811, and DCC104705 collectively referred to below as the “DOE Products”), except as

10 follows:

11               For purposes of the last element of claim 6, the DOE Products have a front shade
12                attached to the front panel below rather than above the front opening, and wherein a

13                top side rather than a bottom side of the front shade is connected to the front panel

14                with a zipper. Yuntek contends that these products infringe this claim element

15                under the doctrine of equivalents.

16               For purposes of the fourth element of claim 7, the DOE Products have a front shade
17                attached to the front panel below rather than above the front opening. Yuntek

18                contends that these products infringe this claim element under the doctrine of

19                equivalents.

20               For purposes of the sixth element of claim 7, the DOE Products have a front shade
21                wherein a top side rather than a bottom side of the front shade is connected to the

22                front panel with a zipper. Yuntek contends that these products infringe this claim

23                element under the doctrine of equivalents.

24               For purposes of claims 34-35, DCC103903 has a side shade over the side mesh
25                window, securable above the side mesh window by Velcro tabs, as shown on the

26                left side of the diagram below from SUNNY_00017:

27

28
                                                    21
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 1

 2

 3

 4

 5
               For purposes of claims 34-35, DCC104705 has a side shade over the side mesh
 6
                window, securable above the side mesh window by Velcro tabs, as shown on the
 7
                left side of the diagram below from SUNNY_00668:
 8

 9

10

11

12

13             For purposes of claim 37, the back panel of DCC1800 has a back mesh window in
14              the upper portion thereof as shown in the photo below from an Amazon listing:
15

16

17

18

19

20

21
               For purposes of claims 37-38, the back panel of DCC104705 has a back mesh
22
                window with a back shade, as shown on the right side of the diagram below from
23
                SUNNY_00668:
24

25

26

27

28
                                                22
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 1

 2

 3

 4

 5
               For purposes of the fifth element of claim 41, the DOE Products have a front shade
 6
                attached to the front panel below rather than above the front opening, and wherein a
 7
                top side rather than a bottom side of the front shade is connected to the front panel
 8
                with a zipper. Yuntek contends that these products infringe this claim element
 9
                under the doctrine of equivalents.
10
               For purposes of claims 48-49, DCC103903 has a side shade over the side mesh
11
                window wherein the side shade comprises Velcro fasteners to secure the side shade
12
                above the side mesh window, as shown on the left side of the diagram below from
13
                SUNNY_00017:
14

15

16

17

18

19             For purposes of claims 48-49, DCC104705 has a side shade over the side mesh
20              window wherein the side shade comprises Velcro fasteners to secure the side shade
21              above the side mesh window, as shown on the left side of the diagram below from
22              SUNNY_00668:
23

24

25

26

27

28
                                                  23
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1             For purposes of claim 50, the back panel of DCC1800 has a back mesh window in
 2              the upper portion thereof as shown in the photo on the preceding page from an
 3              Amazon listing.
 4             For purposes of claim 50, the back panel of DCC104705 has a back mesh window
 5              as shown in the diagram on the preceding page from SUNNY_00668.
 6             For purposes of the fourth element of claim 54, the DOE Products have a front
 7              mesh shade attached to the front panel below rather than above the front opening,
 8              and wherein a top side rather than a bottom side of the front mesh shade is
 9              selectively engageable to the front panel with a zipper. Yuntek contends that these
10              products infringe this claim element under the doctrine of equivalents.
11             For purposes of claims 59 and 61, DCC104705 has a side mesh window and a
12              window in the back panel, each with a shade securable over the window using
13              Velcro fasteners, as shown on the left and right sides of the diagram below from
14              SUNNY_00668:
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19
               Yuntek is continuing to investigate whether DCC103902 has side mesh windows
20
                for purposes of claims 33, 47, and 57 of the ʼ446 Patent.
21
               Yuntek is continuing to investigate whether DCC103903, DCC1910, and
22
                DCC104705 have a second mesh window in the second side for purposes of claims
23
                57, 58, and 60 of the ʼ446 Patent.
24
               Yuntek is continuing to investigate whether DCC1910 has a mesh window in the
25
                back panel for purposes of claims 37 and 50 of the ʼ446 Patent.
26

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     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1               Yuntek is continuing to investigate whether DCC1811 has side and/or rear mesh
 2                windows and/or shades for purposes of claims 33-35, 37, 47-50, and 57-61 of the
 3                ʼ446 Patent.
 4         Yuntek also continues to investigate whether Model #DHCA012033LN, DHCA012033N1,
 5 DCC001810, and/or DCC002611 infringe one or more claims of the ʼ446 Patent.

 6         The following chart identifies specifically where and how each limitation of each asserted
 7 claim identified in Section (a) above, if applicable, is found in Sunnypet’s Model # DCC1047.

 8 Yuntek does not contend that any claim limitation is governed by 35 U.S.C. § 112(6).

 9   Claim Element               Where Element Is Found in Sunnypet Model #DCC1047
     6. A collapsible            To the extent the claim preamble is limiting, in whole or in part,
10
     housing for                 Sunnypet’s Model #DCC1047 (“DCC1047”) is a collapsible housing.
11   accommodating a pet         Photo 1 below shows DCC1047 in its collapsed state; Photo 2 below
     comprising:                 shows DCC1047 in its zippered/assembled state. Sunnypet markets the
12                               product as being to accommodate a pet, a purpose for which the product
                                 is suitable due to its size, shape, enclosed mat, and other features.
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21                               (Photo 1)                       (Photo 2)
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      PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     a main body having a       Sunnypet product DCC1047 includes a main body having a bottom
 2
     bottom side, a first       side, a first (vertical) side, a second (vertical) side and a top side, as
 3   side, a second side, and   shown in Photo 3 below. The main body forms a continuous structure.
     a top side, said main
 4   body forming a
     continuous structure;
 5

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12
                                (Photo 3 - annotated)
13
     a front panel, and a       Sunnypet product DCC1047 includes a front panel and a back panel, as
14   back panel, said front     shown in Photo 4 below. The front and back panels are each joined by
     panel and said back        stitching to the main body on the bottom side. The front and back
15   panel joined to the        panels are each selectively engageable with the first, second, and top
16   main body on the           sides via zippers. When the front and back panels are arranged
     bottom side and            substantially perpendicular to the bottom side, and the zippers are at
17   selectively engageable     least partly closed, the front and back panels form a frame for the
     with the first, second,    housing as shown in Photos 2 and 3 above.
18   and top sides such that,
     when arranged
19
     substantially
20   perpendicular to the
     bottom side, said front
21   panel and said back
     panel form a frame for
22   said housing; and
23

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                                                     26
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element         Where Element Is Found in Sunnypet Model #DCC1047
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                           (Photo 4 - annotated)
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                                               27
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1047
     wherein said housing is   The housing of Sunnypet product DCC1047 is foldable when the front
 2
     foldable such that: the   and back panels are disengaged (unzipped) from the first, second, and
 3   first, second, and top    top sides of the main body; for example, the first and second sides of
     sides are disengaged      the main body can then collapse inwards over the bottom side, and the
 4   from said front and       top side can collapse downwards over the other three sides, as shown in
     back panels, wherein      Photo 5 below. When disengaged (unzipped) from the main body, the
 5   when disengaged, said     front and back panels open in a direction parallel to a longest side of the
     front and back panels     main body, as further shown in Photo 5 below.
 6
     open in a direction
 7   parallel to a longest
     side of the main body;
 8

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                               (Photo 5)
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                                                    28
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     the main body is           The housing of Sunnypet product DCC1047 is foldable such that the
 2
     collapsed so that the      main body is collapsed so that the first, second, and top sides of the
 3   first, second, and top     main body are collapsed on top of the bottom side of the main body, as
     sides are collapsed on     shown in Photo 6 below.
 4   top of said bottom side;
     and
 5

 6

 7

 8

 9
                                (Photo 6)
10
     the front panel and the    The housing of Sunnypet product DCC1047 is foldable when the front
11   back panel are folded      and back panels are disengaged (unzipped) from the first, second, and
     over the collapsed         top sides of the main body such that, after the first, second, and top
12   main body with one of      sides of the main body are collapsed on top of the bottom side, the front
13   the front panel and the    panel and the back panel can be folded over the collapsed main body,
     back panel folded over     with one of the front panel and the back panel folded over the other, as
14   the other;                 shown in Photo 1 above.

15   wherein the front panel    Sunnypet product DCC1047 has a front opening in the middle of the
     further has a front        front panel that, when unzipped, allows access to the collapsible
16
     opening that allows        housing, as shown, for example, in Photo 2 above (in which the front
17   access to the              opening is zipped).
     collapsible housing for
18   accommodating a pet;

19   wherein the front          The front opening in the front panel of Sunnypet product DCC1047 has
20   opening is provided        a front shade made of mesh, as shown, for example, in Photo 2 above.
     with a front shade
21   made of mesh;

22   wherein the front shade    The front shade of Sunnypet product DCC1047 is attached by stitching
     is attached to the front   to the front panel above the front opening, as shown, for example, in
23
     panel above the front      Photo 2 above.
24   opening;

25   and wherein a bottom       The front shade of Sunnypet product DCC1047 has a bottom side, a
     side, a first side and a   first side, and a second side that are connected to the front panel with a
26
     second side of the front   zipper, as shown, for example, in Photo 2 above (in which the front
27   shade are connected to     opening is zipped).
     the front panel with
28   one or more zippers.
                                                     29
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     7. A collapsible           To the extent the claim preamble is limiting, in whole or in part,
 2
     housing for                Sunnypet product DCC1047 is a collapsible housing. Photo 1 above
 3   accommodating a pet        shows DCC1047 in its collapsed state; Photo 2 above shows DCC1047
     comprising:                in its zippered/assembled state. Sunnypet markets the product as being
 4                              to accommodate a pet, a purpose for which the product is suitable due
                                to its size, shape, enclosed mat, and other features.
 5

 6   a main body having a       Sunnypet product DCC1047 includes a main body having a bottom
     bottom side, a first       side, a first (vertical) side, a second (vertical) side and a top side, as
 7   side, a second side, and   shown in Photo 3 above. The main body forms a continuous structure.
     a top side, said main
 8   body forming a
     continuous structure;
 9

10   a front panel, and a       Sunnypet product DCC1047 includes a front panel and a back panel, as
     back panel, said front     shown in Photo 4 above. The front and back panels are each joined by
11   panel and said back        stitching to the main body on the bottom side. The front and back
     panel joined to the        panels are each selectively engageable with the first, second, and top
12   main body on the           sides via zippers.
13   bottom side and
     selectively engageable
14   with the first, second,
     and top sides;
15
     wherein the front panel    Sunnypet product DCC1047 has a front opening in the middle of the
16
     further has a front        front panel that, when unzipped, allows access to the collapsible
17   opening that allows        housing, as shown, for example, in Photo 2 above (in which the front
     access to the              opening is zipped).
18   collapsible housing for
     accommodating a pet;
19

20   wherein a front shade      A front shade of Sunnypet product DCC1047 is attached by stitching to
     is attached to the front   the front panel above the front opening, as shown, for example, in
21   panel above the front      Photo 2 above.
     opening;
22

23   wherein the front shade    The front shade of Sunnypet product DCC1047 is made of mesh, as
     is mesh;                   shown, for example, in Photo 2 above.
24
     wherein a bottom side,     The front shade of Sunnypet product DCC1047 has a bottom side, a
25   a first side and a         first side, and a second side that are connected to the front panel with a
     second side of the front   zipper, as shown, for example, in Photo 2 above (in which the front
26
     shade are connected to     opening is zipped).
27   the front panel with
     one or more zippers;
28   and
                                                     30
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     wherein said housing is    The housing of Sunnypet product DCC1047 is foldable when the front
 2
     foldable such that: the    and back panels are disengaged (unzipped) from the first, second, and
 3   first, second, and top     top sides of the main body; for example, the first and second sides of
     sides are disengaged       the main body can then collapse inwards over the bottom side, and the
 4   from said front and        top side can collapse downwards over the other three sides, as shown in
     back panels, wherein       Photo 5 above. When disengaged (unzipped) from the main body, the
 5   when disengaged, said      front and back panels open in a direction parallel to a longest side of the
     front and back panels      main body, as further shown in Photo 5 above.
 6
     open in a direction
 7   parallel to a longest
     side of the main body;
 8
     the main body is           The housing of Sunnypet product DCC1047 is foldable such that the
 9   collapsible so that the    main body is collapsed so that the first, second, and top sides of the
10   first, second, and top     main body are collapsed on top of the bottom side of the main body, as
     sides are collapsed on     shown in Photo 6 above.
11   top of said bottom side;
     and
12

13   the front panel and        The housing of Sunnypet product DCC1047 is foldable when the front
     back panel are folded      and back panels are disengaged (unzipped) from the first, second, and
14   over the collapsed         top sides of the main body such that, after the first, second, and top
     main body with one of      sides of the main body are collapsed on top of the bottom side, the front
15   the front panel and the    panel and the back panel can be folded over the collapsed main body,
     back panel folded over     with one of the front panel and the back panel folded over the other, as
16   the other.                 shown in Photo 1 above.
17
     31. The collapsible        The front panel of Sunnypet product DCC1047 is selectively
18   housing for                engageable with the first, second, and top sides of the main body by a
     accommodating a pet        zipper, as shown, for example, in Photos 2, 3, and 4 above.
19   of claim 7, wherein the
20   front panel is
     selectively engageable
21   with the first, second,
     and top sides of the
22   main body by a zipper.
23   32. The collapsible        The back panel of Sunnypet product DCC1047 is selectively
24   housing for                engageable with the first, second, and top sides of the main body by a
     accommodating a pet        zipper, as shown, for example, in Photo 4 above.
25   of claim 7, wherein the
     back panel is
26   selectively engageable
     with the first, second,
27   and top sides of the
28   main body by a zipper.

                                                     31
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1047
     33. The collapsible       The first side and the second side of Sunnypet product DCC1047 each
 2
     housing for               have a side mesh window, as shown in Photos 7 and 8 below.
 3   accommodating a pet
     of claim 7, wherein at
 4   least one of the first
     side and the second
 5   side has a side mesh
     window.
 6

 7

 8
                               (Photo 7)                          (Photo 8)
 9

10   34. The collapsible       The side mesh windows in the first and second sides of Sunnypet
     housing for               product DCC1047 each have a side shade, as shown in Photos 7 and 8
11   accommodating a pet       above (with the side shades rolled up above the side mesh windows).
     of claim 33 wherein
12   the side mesh window
13   has a side shade.

14   35. The collapsible       The side shades on the first and second sides of Sunnypet product
     housing for               DCC1047 are each securable above the respective side mesh window
15   accommodating a pet       by means of Velcro. The side shades are shown in their secured
     of claim 34 wherein       position in Photos 7 and 8 above.
16
     the side shade is
17   securable above the
     side mesh window.
18
     36. The collapsible       The top side of Sunnypet product DCC1047 has a handle attached
19
     housing for               thereto, as shown, for example, in Photos 2, 3, 7, and 8 above.
20   accommodating a pet
     of claim 7, wherein the
21   top side of the main
     body has a handle
22   attached thereto.
23
     37. The collapsible       The back panel of Sunnypet product DCC1047 has a back mesh
24   housing for               window, as shown in Photo 9 below.
     accommodating a pet
25   of claim 7, wherein the
     back panel has a back
26   mesh window.
27

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                                                  32
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element            Where Element Is Found in Sunnypet Model #DCC1047
 2

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 7
                              (Photo 9)
 8

 9   38. The collapsible      The back mesh window of Sunnypet product DCC1047 has a back
     housing for              shade, as shown in Photo 9 above (with the back shade rolled up above
10   accommodating a pet      the back mesh window).
     of claim 37, wherein
11   the back mesh window
12   has a back shade.

13   40. The collapsible      Sunnypet product DCC1047 is supplied with a pad placed, or for
     housing for              placement, in the interior on the bottom side, as shown in Photo 10
14   accommodating a pet      below.
     of claim 7, further
15
     comprising a pad
16   placed in the interior
     on the bottom side.
17

18

19

20

21

22                            (Photo 10)

23   41. A collapsible        To the extent the claim preamble is limiting, in whole or in part,
24   housing for              Sunnypet product DCC1047 is a collapsible housing. Photo 1 above
     accommodating a pet      shows 1047C in its collapsed state; Photo 2 above shows 1047C in its
25   comprising:              zippered/assembled state. Sunnypet markets the product as being to
                              accommodate a pet, a purpose for which the product is suitable due to
26                            its size, shape, enclosed mat, and other features.
27

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                                                  33
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 1   Claim Element               Where Element Is Found in Sunnypet Model #DCC1047
     a collapsible main          Sunnypet product DCC1047 includes a main body having a bottom
 2
     body having a bottom        side, a first (vertical) side, a second (vertical) side and a top side, as
 3   side, a first side, a       shown in Photo 3 above. The main body forms a continuous structure
     second side, and a top      and is collapsible, Photo 1 above showing DCC1047 in its collapsed
 4   side, said main body        state and Photo 2 above showing DCC1047 in its zippered/assembled
     forming a continuous        state.
 5   structure;
 6
     a front panel joined to     Sunnypet product DCC1047 includes a front panel, as shown, for
 7   the main body on the        example, in Photo 4 above. The front panel is joined by stitching to the
     bottom side and             main body on the bottom side. The front panel is selectively
 8   selectively engageable      engageable with the first, second, and top sides of the main body via a
     with the first, second,     zipper. When disengaged (unzipped) from the main body, the front
 9   and top sides of the        panel opens in a direction parallel to a longest side of the main body, as
10   main body such that,        shown in Photo 5 above.
     when disengaged, said
11   front panel opens in a
     direction parallel to a
12   longest side of the
     main body;
13

14   a front opening in said     Sunnypet product DCC1047 has a front opening in the middle of the
     front panel which           front panel which, when unzipped, allows access to the collapsible
15   allows access to the        housing, as shown, for example, in Photo 2 above (in which the front
     collapsible housing for     opening is zipped). The size and shape of the opening accommodates
16   entry and exit of the       entry and exit of a pet, as marketed by Sunnypet.
17   pet;

18   a back panel joined to      Sunnypet product DCC1047 includes a back panel, as shown, for
     the main body on the        example, in Photo 4 above. The back panel is joined by stitching to the
19   bottom side and             main body on the bottom side. The back panel is selectively
20   selectively engageable      engageable with the first, second, and top sides of the main body via a
     with the first, second,     zipper. When disengaged (unzipped) from the main body, the back
21   and top sides of the        panel opens in a direction parallel to a longest side of the main body, as
     main body such that         shown in Photo 5 above.
22   when disengaged, said
     back panel opens in a
23   direction parallel to a
24   longest side of the
     main body;
25
     wherein a front shade       A front shade of Sunnypet product DCC1047 is attached by stitching to
26   is attached to the front    the front panel above the front opening, as shown, for example, in
     panel above the front       Photo 2 above. The front shade of Sunnypet product DCC1047 has a
27
     opening and wherein a       bottom side, a first side, and a second side that are connected to the
28   bottom side, a first side
                                                      34
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1047
     and a second side of      front panel with a zipper, as shown, for example, in Photo 2 above (in
 2
     the front shade are       which the front opening is zipped).
 3   connected to the front
     panel with one or more
 4   zippers;

 5   wherein the first,        The first, second, and top sides of Sunnypet product DCC1047 are
 6   second, and top sides     designed to be engaged with the front panel and back panel via zippers,
     of said main body are     with the front and back panels positioned substantially perpendicular to
 7   engaged with said front   the bottom side of the main body such that the front and back panels
     panel and back panel,     support the first, second, and top sides of the main body as shown, for
 8   and the front panel and   example, in Photos 2 and 3 above.
     back panel are
 9   positioned
10   substantially
     perpendicular to the
11   bottom side of the
     main body such that
12   the front panel and
     back panel support said
13
     first, second, and top
14   sides of the main body;
     and
15
     wherein the housing is    The housing of Sunnypet product DCC1047 is foldable when the front
16   foldable such that, the   and back panels are disengaged (unzipped) from the first, second, and
17   first, second, and top    top sides of the main body; for example, the first and second sides of
     sides of said main body   the main body can then collapse inwards over the bottom side, and the
18   are disengaged from       top side can collapse downwards over the other three sides, as shown in
     said front and back       Photos 5 and 6 above. After the first, second, and top sides of the main
19   panels, the first,        body are collapsed on top of the bottom side, the front panel and the
     second, and top sides     back panel can be folded over the collapsed main body, with one of the
20   of said main body are     front panel and the back panel folded over the other, as shown in Photo
21   collapsed on top of       1 above.
     said bottom side of
22   said main body, and
     the front panel and the
23   back panel are folded
     over the collapsed
24
     main body with one of
25   the front panel and the
     back panel folded over
26   the other of the front
     panel and the back
27   panel.
28
                                                    35
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     42. The collapsible        The front shade of Sunnypet product DCC1047 comprises mesh, as
 2
     housing for                shown, for example, in Photo 2 above.
 3   accommodating a pet
     of claim 41, wherein
 4   the front shade
     comprises mesh.
 5

 6   43. The collapsible        The top side of Sunnypet product DCC1047 has a handle attached
     housing for                thereto, as shown, for example, in Photos 2, 3, 7, and 8 above.
 7   accommodating a pet
     of claim 41, wherein
 8   the top side of the main
     body has a handle
 9   attached thereto.
10
     44. The collapsible        The top side of Sunnypet product DCC1047 has a handle sewn thereto,
11   housing for                as shown, for example, in Photos 2, 3, 7, and 8 above.
     accommodating a pet
12   of claim 41, wherein
13   the top side of the main
     body has a handle
14   sewn thereto.

15   45. The collapsible        The front panel of Sunnypet product DCC1047 is selectively
     housing for                engageable with the first, second, and top sides of the main body by a
16
     accommodating a pet        zipper, as shown, for example, in Photos 2, 3, and 4 above.
17   of claim 41, wherein
     the front panel is
18   selectively engageable
     with the first, second,
19   and top sides of the
20   main body by a zipper.

21   46. The collapsible        The back panel of Sunnypet product DCC1047 is selectively
     housing for                engageable with the first, second, and top sides of the main body by a
22   accommodating a pet        zipper, as shown, for example, in Photo 4 above.
     of claim 41, wherein
23
     the back panel is
24   selectively engageable
     with the first, second,
25   and top sides of the
     main body by a zipper.
26

27   47. The collapsible        The first side and the second side of Sunnypet product DCC1047 each
     housing for                have a side mesh window, as shown in Photos 7 and 8 above.
28   accommodating a pet
                                                    36
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1047
     of claim 41, wherein at
 2
     least one of the first
 3   side and the second
     side has a side mesh
 4   window.

 5   48. The collapsible       The side mesh windows in the first and second sides of Sunnypet
 6   housing for               product DCC1047 each have a side shade, as shown in Photos 7 and 8
     accommodating a pet       above (with the side shades rolled up above the side mesh windows).
 7   of claim 47, wherein
     the side mesh window
 8   has a side shade.
 9
     49. The collapsible       The side shades on the first and second sides of Sunnypet product
10   housing for               DCC1047 each comprise Velcro fasteners to secure the side shade
     accommodating a pet       above the respective side mesh window. The side shades are shown in
11   of claim 48, wherein      their secured position in Photos 7 and 8 above.
     the side shade
12   comprises a fastener to
13   secure the side shade
     above the side mesh
14   window.

15   50. The collapsible       The back panel of Sunnypet product DCC1047 has a back mesh
     housing for               window, as shown in Photo 9 above.
16
     accommodating a pet
17   of claim 41, wherein
     the back panel has a
18   back mesh window.
19
     51. The collapsible       The back mesh window of Sunnypet product DCC1047 has a back
20   housing for               shade, as shown in Photo 9 above (with the back shade rolled up above
     accommodating a pet       the back mesh window).
21   of claim 50, wherein
     the back mesh window
22   has a back shade.
23
     53. The collapsible       Sunnypet product DCC1047 is supplied with a pad positioned, or to be
24   housing for               positioned, inside the main body on top of the bottom side of the main
     accommodating a pet       body, as shown in Photo 10 above.
25   of claim 41, further
     comprising a pad
26   positioned inside the
27   main body on top of
     the bottom side of the
28   main body.
                                                   37
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 1   Claim Element               Where Element Is Found in Sunnypet Model #DCC1047
     54. A collapsible           To the extent the claim preamble is limiting, in whole or in part,
 2
     housing for                 Sunnypet product DCC1047 is a collapsible housing. Photo 1 above
 3   accommodating a pet         shows DCC1047 in its collapsed state; Photo 2 above shows DCC1047
     comprising:                 in its zippered/assembled state. Sunnypet markets the product as being
 4                               to accommodate a pet, a purpose for which the product is suitable due
                                 to its size, shape, enclosed mat, and other features.
 5

 6   a collapsible main          Sunnypet product DCC1047 includes a main body having a bottom
     body having a bottom        side, a first (vertical) side, a second (vertical) side and a top side, as
 7   side, a first side, a       shown in Photo 3 above. The main body forms a continuous structure
     second side, and a top      and is collapsible, Photo 1 above showing DCC1047 in its collapsed
 8   side, said main body        state and Photo 2 above showing DCC1047 in its zippered/assembled
     forming a continuous        state.
 9   structure;
10
     a front panel joined to     Sunnypet product DCC1047 includes a front panel, as shown, for
11   the main body on the        example, in Photo 4 above. The front panel is joined by stitching to the
     bottom side and             main body on the bottom side. The front panel is selectively
12   selectively engageable      engageable with the first, second, and top sides of the main body via a
13   with a zipper to the        zipper. When disengaged (unzipped) from the main body, the front
     first, second, and top      panel opens in a direction parallel to a longest side of the main body, as
14   sides of the main body      shown in Photo 5 above.
     such that, when
15   disengaged, said front
     panel opens in a
16   direction parallel to a
17   longest side of the
     main body;
18
     a front opening in said     Sunnypet product DCC1047 has a front opening in the middle of the
19   front panel which           front panel which, when unzipped, allows access to the collapsible
20   allows access to the        housing, as shown, for example, in Photo 2 above (in which the front
     collapsible housing for     opening is zipped). The size and shape of the opening accommodates
21   entry and exit of the       entry and exit of a pet, as marketed by Sunnypet.
     pet;
22
     a front mesh shade          A front shade of Sunnypet product DCC1047 is attached by stitching to
23
     attached to the front       the front panel above the front opening, as shown, for example, in
24   panel above the front       Photo 2 above. The front shade is made of mesh and has a bottom side,
     opening wherein a           a first side, and a second side that are selectively engageable to the front
25   bottom side, a first side   panel with a zipper, as shown, for example, in Photo 2 above (in which
     and a second side of        the front opening is zipped).
26   the front mesh shade
     are selectively
27
     engageable with one or
28
                                                      38
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 1   Claim Element             Where Element Is Found in Sunnypet Model #DCC1047
     more zippers to the
 2
     front panel;
 3
     a back panel joined to    Sunnypet product DCC1047 includes a back panel, as shown, for
 4   the main body on the      example, in Photo 4 above. The back panel is joined by stitching to the
     bottom side and           main body on the bottom side. The back panel is selectively
 5   selectively engageable    engageable with the first, second, and top sides of the main body via a
 6   with a zipper to the      zipper. When disengaged (unzipped) from the main body, the back
     first, second, and top    panel opens in a direction parallel to a longest side of the main body, as
 7   sides of the main body    shown in Photo 5 above.
     such that when
 8   disengaged, said back
     panel opens in a
 9   direction parallel to a
10   longest side of the
     main body;
11
     wherein the first,        The first, second, and top sides of Sunnypet product DCC1047 are
12   second, and top sides     designed to be engaged with the front panel and back panel via zippers,
13   of said main body are     with the front and back panels positioned substantially perpendicular to
     engaged with said front   the bottom side of the main body such that the front and back panels
14   panel and back panel,     support the first, second, and top sides of the main body as shown, for
     and the front panel and   example, in Photos 2 and 3 above.
15   the back panel are
     positioned
16   substantially
17   perpendicular to the
     bottom side of the
18   main body such that
     the front panel and
19   back panel support said
     first, second, and top
20   sides of the main body;
21
     wherein the collapsible   The housing of Sunnypet product DCC1047 is foldable when the front
22   housing is foldable       and back panels are disengaged (unzipped) from the first, second, and
     such that the first,      top sides of the main body; for example, the first and second sides of
23   second, and top sides     the main body can then collapse inwards over the bottom side, and the
24   of said main body are     top side can collapse downwards over the other three sides, as shown in
     disengaged from said      Photos 5 and 6 above. After the first, second, and top sides of the main
25   front and back panels,    body are collapsed on top of the bottom side, the front panel and the
     the first, second, and    back panel can be folded over the collapsed main body, with one of the
26   top sides of said main    front panel and the back panel folded over the other, as shown in Photo
     body are collapsed on     1 above.
27   top of said bottom side
28   of said main body, and

                                                    39
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     the front panel and the
 2
     back panel are folded
 3   over the collapsed
     main body with one of
 4   the front panel and the
     back panel folded over
 5   the other of the front
     panel and the back
 6
     panel.
 7
     55. The collapsible        The top side of Sunnypet product DCC1047 has a handle attached
 8   housing for                thereto, as shown, for example, in Photos 2, 3, 7, and 8 above.
     accommodating a pet
 9   of claim 54, further
10   comprising a handle
     attached to said top
11   side of said main body.

12   56. The collapsible        The top side of Sunnypet product DCC1047 has a handle sewn thereto,
13   housing for                as shown, for example, in Photos 2, 3, 7, and 8 above.
     accommodating a pet
14   of claim 54, further
     comprising a handle
15   sewn to the top side of
     the main body.
16

17   57. The collapsible        The first side and the second side of Sunnypet product DCC1047 each
     housing for                have a side mesh window, as shown in Photos 7 and 8 above.
18   accommodating a pet
     of claim 54, further
19   comprising: a first
20   mesh window in the
     first side; and a second
21   mesh window in the
     second side.
22
     58. The collapsible        The first side and the second side of Sunnypet product DCC1047 each
23
     housing for                have a side mesh window with a side shade securable above the
24   accommodating a pet        respective side mesh window by means of Velcro, as shown in Photos 7
     of claim 54, further       and 8 above (with the side shades rolled up and secured above the side
25   comprising: a first        mesh windows).
     mesh window in the
26   first side; a second
     mesh window in the
27
     second side; a first
28   shade securable over
                                                    40
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     the first mesh window;
 2
     and a second shade
 3   securable over the
     second mesh window.
 4
     59. The collapsible        The first side and the second side of Sunnypet product DCC1047 each
 5   housing for                have a side mesh window with a side shade securable above the
 6   accommodating a pet        respective side mesh window by means of Velcro, as shown in Photos 7
     of claim 54, further       and 8 above (with the side shades rolled up and secured above the side
 7   comprising: a first        mesh windows). In addition, the back panel has a back mesh window
     mesh window in the         with a shade securable above the back mesh window by means of
 8   first side; a second       Velcro, as shown in Photo 9 above.
     mesh window in the
 9   back panel; a first side
10   shade securable over
     the first mesh window;
11   and a second side
     shade securable over
12   the second mesh
     window.
13

14   60. The collapsible        The first side and the second side of Sunnypet product DCC1047 each
     housing for                have a side mesh window with a side shade securable above the
15   accommodating a pet        respective side mesh window by means of Velcro fasteners, as shown in
     of claim 54, further       Photos 7 and 8 above (with the side shades rolled up and secured in a
16   comprising: a first        held-open position above the side mesh windows).
17   mesh window in the
     first side; a second
18   mesh window in the
     second side; a first
19   shade securable over
     the first mesh window;
20   a second shade
21   securable over the
     second mesh window;
22   a first fastener for
     holding open the first
23   mesh window; and a
     second fastener for
24
     holding open the
25   second mesh window.

26

27

28
                                                    41
     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1   Claim Element              Where Element Is Found in Sunnypet Model #DCC1047
     61. The collapsible        The first side and the second side of Sunnypet product DCC1047 each
 2
     housing for                have a side mesh window with a side shade securable above the
 3   accommodating a pet        respective side mesh window by means of Velcro, as shown in Photos 7
     of claim 54, further       and 8 above (with the side shades rolled up and secured above the side
 4   comprising: a first        mesh windows). In addition, the back panel has a back mesh window
     mesh window in the         with a shade securable above the back mesh window by means of
 5   first side; a second       Velcro, as shown in Photo 9 above.
     mesh window in the
 6
     back panel; a first side
 7   shade securable over
     the first mesh window;
 8   a second side shade
     securable over the
 9   second mesh window;
     a first fastener for
10
     holding open the first
11   mesh window; and a
     second fastener for
12   holding open the
     second mesh window.
13

14   64. The collapsible        Sunnypet product DCC1047 is supplied with a pad placed, or to be
     housing for                placed, inside the housing covering the bottom side of the main body, as
15   accommodating a pet        shown in Photo 10 above.
     of claim 54, further
16   comprising a pad
     placed inside the
17
     housing covering the
18   bottom side of said
     main body.
19
     65. The collapsible        The front mesh shade of Sunnypet product DCC1047 comprises Velcro
20   housing for                fasteners for holding open the front mesh shade, as shown, for example,
21   accommodating a pet        in Photos 2 and 3 above.
     of claim 54, further
22   comprising a fastener
     for holding open the
23   front mesh shade.
24

25

26

27

28
                                                    42
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 1 (d)      For each claim which is alleged to have been indirectly infringed, an identification of
            any direct infringement and a description of the acts of the alleged indirect infringer
 2          that contribute to or are inducing that direct infringement. Insofar as alleged direct
            infringement is based on joint acts of multiple parties, the role of each such party in
 3          the direct infringement must be described.

 4          Yuntek is informed and believes that Sunnypet has sold the accused products to customers

 5 in the United States, each of whom is a direct infringer through use, offer for sale, sale, and/or

 6 importation of the accused products. Further, in at least some cases, Sunnypet’s U.S. customers

 7 and/or its customers’ customers have been distributors or retailers, including, but not limited to,

 8 K&H Manufacturing, Amazon, Petsfit Inc., Costco Wholesale, Bed Bath & Beyond, Walmart, and

 9 Chewy.com. In those instances, Sunnypet sold the accused products to its customers expecting

10 that the products would ultimately be sold to end customers who would use the products in an

11 infringing manner. Yuntek does not know the end user customers’ identities, but reserves the right

12 to learn their identities through discovery in this action. Sunnypet’s acts of inducement with

13 respect to end users include posting or facilitating the posting of product photos, information, and

14 instructions on Sunnypet’s website, amazon.com, and/or other websites, and including written

15 instructions and diagrams with shipped products. On information and belief, Sunnypet’s acts of

16 inducement with respect to distributors and retailers include communications acknowledging and

17 encouraging the importation, offer for sale, and sale of the accused products in the United States.

18 Yuntek reserves the right to identify additional acts of inducement by Sunnypet through its

19 continuing investigation and discovery in this action. At this time, Yuntek does not know which

20 of the Defendants is responsible for which acts of inducement, but it reserves the right to

21 investigate that issue through discovery in this action.

22 (e)      Whether each limitation of each asserted claim is alleged to be literally present or
            present under the doctrine of equivalents in the Accused Instrumentality.
23
            Yuntek alleges that each limitation of each asserted claim is literally present in each
24
     accused product, except as specified above in Section (c). To the extent Sunnypet alleges, or it is
25
     found, that any claim limitation is not literally present in any accused product, Yuntek alleges in
26
     the alternative that the claim limitation is present under the doctrine of equivalents.
27
     (f)    For any patent that claims priority to an earlier application, the priority date to
28          which each asserted claim allegedly is entitled.
                                                       43
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 1          Yuntek alleges that the ʼ446 Patent claims priority to November 9, 2001, the date of a

 2 corresponding Chinese patent application.

 3 (g)      If a party claiming patent infringement wishes to preserve the right to rely, for any
            purpose, on the assertion that its own or its licensee’s apparatus, product, device,
 4          process, method, act, or other instrumentality practices the claimed invention, the
            party shall identify, separately for each asserted claim, each such apparatus, product,
 5          device, process, method, act, or other instrumentality that incorporates or reflects
            that particular claim.
 6
            Yuntek hereby identifies the Petmate® Pet Home™ products sold by Yuntek’s licensee,
 7
     Doskocil Manufacturing Company, Inc., including under any prior name. Yuntek alleges that
 8
     these products practice the claimed inventions of at least claims 6-7 and 31-65 of the ʼ446 Patent.
 9
     (h)    Identify the timing of the point of first infringement, the start of claimed damages,
10          and the end of claimed damages.

11          Yuntek does know the date of first infringement by Sunnypet and reserves the right to

12 learn that information through discovery in this action. Based on information provided by

13 Sunnypet, however, Yuntek is informed and believes that Sunnypet’s infringement dates back to at

14 least October 15, 2014, and alleges that the damages period commenced on that date. Yuntek is

15 informed and believes that Sunnypet is continuing to sell the accused products and, therefore, the

16 damages period has not come to an end but rather damages are continuing to accrue.

17 (i)      If a party claiming patent infringement alleges willful infringement, the basis for such
            allegation.
18
            Yuntek alleges that Sunnypet’s infringement has been willful since at least January 2015,
19
     when Yuntek received the first of several written and telephonic communications from Jeff Lee of
20
     LT Pacific Law Group LLP on behalf of Sunnypet. Yuntek had contacted Sunnypet’s customer in
21
     the U.S., K&H Manufacturing, to inform K&H that it was infringing the ʼ446 Patent through the
22
     sale of products called Classy Go and Comfy Go. Mr. Lee acknowledged Sunnypet’s awareness
23
     of the ʼ446 Patent and infringement allegations as to the products it was supplying to K&H for
24
     sale in the U.S. Mr. Lee did not deny that the accused products infringed but instead sought a
25
     settlement. K&H likewise did not deny infringement initially but instead offered to pay a 7%
26
     royalty to Yuntek on its sales of the accused products. In a February 9, 2021 letter to Yuntek, Mr.
27
     Lee asserted that had had “worked with” Sunnypet “to make sure that our products will be outside
28
                                                      44
       PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
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 1 of the claim scope of the 446 Patent,” but he did not explain the purported design-around other

 2 than to make a vague reference to the “folding mechanism” claimed by the ʼ446 Patent. During

 3 the settlement conference in this case, Sunnypet’s counsel stated that Sunnypet changed the way

 4 the accused products were folded for shipping in an alleged effort to avoid infringement. Any

 5 such change did not, however, either avoid infringement or give Sunnypet a reasonable and good

 6 faith belief that it was avoiding infringement because the patent claims require only that a product

 7 be “foldable” as claimed, not actually folded that way for shipment.

 8          Later in 2015, K&H represented that it would stop selling the accused products and thus

 9 Yuntek believed that the infringement had come to an end. On information and belief, Sunnypet

10 was aware of Yuntek’s ongoing discussions with K&H throughout 2015 and into 2016 reiterating

11 its infringement allegations and seeking compensation for past infringement. Yuntek does not

12 recall being contacted by Sunnypet again after February 9, 2015.

13          In 2018, Yuntek learned that Sunnypet was selling infringing products in the United States

14 under its own name. Yuntek did not remember that Sunnypet had been K&H’s supplier. On June

15 26, 2018, Yuntek sent an email to Sunnypet about Sunnypet’s infringement of the ʼ446 Patent.

16 Sunnypet promptly acknowledged receipt of the email but did not stop selling the accused

17 products and, on information and belief, began selling additional infringing products after that

18 date. On or about September 3, 2018, Sunnypet sent an email identifying alleged differences

19 between one of its products and the ʼ446 Patent, but the alleged differences are irrelevant to

20 infringement and do not provide a basis for a reasonable, good faith belief in non-infringement.

21 Moreover, some of the purported differences do not apply to all of the accused products. At no

22 time in 2018 did Sunnypet make reference to the prior infringement discussions in 2015, assert

23 that it had changed its product folding mechanism in 2015, or identify the folding mechanism as a

24 basis to assert non-infringement of the ʼ446 Patent.

25          Sunnypet has continued to sell the accused products since the filing of the Complaint in

26 this action without ever identifying a reasonable and good faith non-infringement, invalidity, or

27 unenforceability argument. Sunnypet’s original Answer and Counterclaims asserted boilerplate

28 non-infringement, invalidity, and unenforceability defenses and counterclaims without alleging
                                                     45
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 1 any supporting facts, forcing Yuntek to file a Motion to Dismiss the invalidity/unenforceability

 2 counterclaims. Sunnypet’s Answer to the First Amended Complaint and revised Counterclaims

 3 included no unenforceability allegations and continued to provide no detail as to Sunnypet’s

 4 invalidity defense and counterclaim, except for a reference to a single alleged prior art reference

 5 that did not support a reasonable, good faith invalidity defense. Sunnypet subsequently filed an

 6 Amended Answer to the First Amended Complaint and a further revised invalidity counterclaim in

 7 which it still did not assert unenforceability, omitted the prior art reference identified in its prior

 8 pleading, and identified new prior art references that do not support a reasonable invalidity

 9 defense.

10          Despite Yuntek’s reasonable and good faith efforts to reach a settlement with Sunnypet

11 early in these proceedings, Sunnypet refused to provide all of the sales documentation requested

12 by Yuntek related to the accused products or to state whether it has sold other products with the

13 same patented features. Sunnypet only provided that information later in the case in response to

14 formal discovery requests.

15          Yuntek further identifies below the documents it has produced pursuant to Patent L.R. 3-2.

16 Yuntek produced some of these documents as Confidential or Highly Confidential – Attorney’s

17 Eyes Only pursuant to the protective order that applies pursuant to Patent L.R. 2-2.

18 (a)      Documents (e.g., contracts, purchase orders, invoices, advertisements, marketing
            materials, offer letters, beta site testing agreements, and third party or joint
19          development agreements) sufficient to evidence each discussion with, disclosure to, or
            other manner of providing to a third party, or sale of or offer to sell, or any public
20          use of, the claimed invention prior to the date of application for the patent in suit. A
            party’s production of a document as required herein shall not constitute an admission
21          that such document evidences or is prior art under 35 U.S.C. § 102.

22          Yuntek is aware of no responsive documents in its possession, custody, or control.

23 (b)      All documents evidencing the conception, reduction to practice, design, and
            development of each claimed invention, which were created on or before the date of
24          application for the patent in suit or the priority date identified pursuant to Patent
            L.R. 3-1(f), whichever is earlier.
25
            Yuntek has produced a copy of the Chinese patent application to which the ʼ446 Patent
26
     claims priority, plus the corresponding Chinese patent. See YUNTEK-SP 000001-000023.
27
     (c)    A copy of the file history for each patent in suit.
28
                                                       46
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 1          Yuntek has produced a copy of the file history for the ʼ446 Patent from the USPTO

 2 website, YUNTEK-SP 000024-000147, and a certified copy of the file history subsequently

 3 received from the USPTO, YUNTEK-SP 0000188-352.

 4 (d)      All documents evidencing ownership of the patent rights by the party asserting patent
            infringement.
 5
            Yuntek has produced a copy of the assignment by which all rights in the ʼ446 Patent were
 6
     assigned by David Chou, the sole inventor, to Yuntek. See YUNTEK-SP 000148-000150.
 7
     (e)    If a party identifies instrumentalities pursuant to Patent L.R. 3-1(g), documents
 8          sufficient to show the operation of any aspects or elements of such instrumentalities
            the patent claimant relies upon as embodying any asserted claims.
 9
            Yuntek has produced photographs of the products identified above pursuant to Patent L.R.
10
     3-1(g), showing certain structural elements and operational instructions. See YUNTEK-SP
11
     000151-000155. Yuntek will also, upon request, make a product sample available for inspection
12
     by Sunnypet’s counsel at the offices of Yuntek’s counsel at a mutually agreeable date and time.
13
     Yuntek also directs Sunnypet to product photos, videos, descriptions, and instructions that are
14
     available online, including, but not limited to, at the following URLs:
15
            https://www.overstock.com/Pet-Supplies/Dog-
16          Crates/31272/subcat.html?featuredproduct=12079055&featuredoption=19362743&kid=95
            53000357392&ci_src=17588969&ci_sku=18945163-000-004&cnc=US
17
            https://www.chewy.com/petmate-single-door-collapsible-
18          soft/dp/53453?utm_source=google-
            product&utm_medium=organic&utm_campaign=hg&utm_content=Petmate&utm_term=
19          %7Bkeyword%7D
20 (f)      All agreements, including licenses, transferring an interest in any patent-in-suit.
21          Yuntek has produced copies of the only written agreements containing limited license
22 provisions with respect to the ʼ446 Patent. See YUNTEK-SP 000156-000168 and YUNTEK-SP

23 001065-001072 (each designated HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY).

24 Yuntek has also licensed an authorized seller of patent products, but the license is not

25 memorialized in a written agreement.

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       PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
                                       CASE NO. 4:20-CV-07201-JSW
      Case 4:20-cv-07201-JSW Document 56-1 Filed 08/19/21 Page 50 of 52




 1 (g)      All agreements that the party asserting infringement contends are comparable to a
            license that would result from a hypothetical reasonable royalty negotiation.
 2
            Yuntek has produced a copy of its written settlement agreements with past infringers of the
 3
     ʼ446 Patent. See YUNTEK-SP 000156-000174, YUNTEK-SP 001065-001072, and YUNTEK-SP
 4
     0001073-1077 (each designated HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY) and
 5
     YUNTEK-SP 000175-180 (designated CONFIDENTIAL). Yuntek reserves the right to produce
 6
     additional responsive documents that it may obtain pursuant to its continuing investigation and
 7
     discovery in this action.
 8
     (h)    All agreements that otherwise may be used to support the party asserting
 9          infringement’s damages case.

10          Yuntek is aware of no responsive documents in its possession, custody, or control other

11 than those described above. Yuntek reserves the right to produce additional responsive documents

12 that it may obtain pursuant to its continuing investigation and discovery in this action.

13 (i)      If a party identifies instrumentalities pursuant to Patent L.R. 3-1(g), documents
            sufficient to show marking of such embodying accused instrumentalities and if it
14          wants to preserve the right to recover lost profits based on such products, sales,
            revenues, costs and profits of such embodying accused instrumentalities.
15
            Yuntek has produced a copy of documents and photos sufficient to show marking of the
16
     products identified above pursuant to Patent L.R. 3-1(g). See YUNTEK-SP 000152, YUNTEK-
17
     SP 000181-000187. Yuntek does not intend to seek an award of lost profits, but instead will
18
     pursue reasonable royalty damages.
19
     (j)    All documents comprising or reflecting a F/RAND commitment or agreement with
20          respect to the asserted patent(s).

21          Yuntek is aware of no responsive documents in its possession, custody, or control.

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       PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
                                       CASE NO. 4:20-CV-07201-JSW
     Case 4:20-cv-07201-JSW Document 56-1 Filed 08/19/21 Page 51 of 52




 1 Dated: __________________, 2021           RIMON, P.C.

 2

 3
                                         By: /s/ Matthew H. Poppe
 4                                           Matthew H. Poppe

 5                                           Attorneys for Plaintiff YUNTEK
                                             INTERNATIONAL, INC.
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     PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
                                     CASE NO. 4:20-CV-07201-JSW
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 1                                        PROOF OF SERVICE

 2          I, Matthew H. Poppe, am over the age of 18 and not a party to this action. My place of

 3 business is 800 Oak Grove Avenue, Suite 250, Menlo Park, CA 94025. On _______________,

 4 2021, I served the following attached document(s):

 5          1.      PLAINTIFF YUNTEK INTERNATIONAL, INC.’S AMENDED
                    DISCLOSURE OF ASSERTED CLAIMS AND INFRINGEMENT
 6                  CONTENTIONS PURSUANT TO PATENT L.R. 3-1
 7      on the person(s) listed below in the following manner/s:

 8
                  BY ELECTRONIC MAIL. I sent the person(s) below copies of the
 9                 document(s) via electronic mail at the email address(es) below.

10                                          Robert E. Aycock
11                                         William Chadwick
                                           Kimball Anderson
12                                   649 E. South Temple, Floor 2
                                        Salt Lake City, UT 84102
13                                      Telephone: 801.359.3333
                                  Email: robert@kimballanderson.com
14
                                              Jen-Feng Lee
15
                                       LT Pacific Law Group LLP
16                                   17800 Castleton Street, Suite 560
                                       City of Industry, CA 91748
17                                      Telephone: 626.810.7200
                                      Email: jflee@ltpacificlaw.com
18
            I declare under penalty of perjury under the laws of the State of California and the United
19
     States of America that the foregoing is true and correct.
20

21 DATED: __________________, 2021                     /s/ Matthew H. Poppe
22                                                                Matthew H. Poppe

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       PLAINTIFF YUNTEK INT’L, INC.’S AMENDED DISCL. OF ASSERTED CLAIMS & INFR. CONTENTIONS
                                       CASE NO. 4:20-CV-07201-JSW
